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IN THE UNITED sTATEs DISTRICT coURT F"'ED BY- D-O-
FoR THE wEsTERN DISTRICT oF TENNESSEE
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RI CKY BENS ON,
Plaintiff,
vs. No. 04~2578-Ml/V

STATE OF T.'EZNNESSEE, et al.,

Defendants.

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ORDER DENYING MOTION FOR SUMMARY JUDGMENT

 

Plaintiff Ricky Benson, RNI number 204821 and Tennessee
Department of Correction prisoner number 241219, who was, at the time
he commenced this lawsuit, an inmate at the Shelby County Detention
Center in Memphis, filed a p;g §§ complaint pursuant to 42 U.S.C. §
1983 on July 27, 2004. On September 17, 2004, plaintiff filed a
motion for summary judgment that indicated that he had been released
from prison. The Court issued an order on January 3, 2005 directing
the plaintiff, within thirty (30) days, to file a nonprisoner in
forma pauperis affidavit or remit the full $150 civil filing fee. The
order further provided that “[f]ailure to comply with result in
dismissal of this action, pursuant to Fed. R. Civ. P. 41(b), for
failure to prosecute.” 01/03/05 Order at 2. Because the plaintiff
failed to comply with, or otherwise respond to, that order within the
time specified, the Court issued an order on Eebruary 28, 2005

dismissing the case without prejudice, pursuant to Fed. R. Civ. P.

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41(b), for failure to prosecute. Judgment was entered on March 1,
2005.

On May 2, 2005, plaintiff filed a notice of change of
address and a motion for summary judgment in this closed case. The
Sixth Circuit has held that “it is proper for a district court to
deem a complaint ‘filed’ only when IFP status is granted or the
appropriate filing fee is paid, rather than at the time a complaint
is delivered to the clerk of a court.” Truitt v. County of Wayne, 148
F.3d 644, 648 (6th Cir. 1998). This case was dismissed for failure to

prosecute due to the plaintiff's failure to file an lp forma pauperis

 

affidavit or pay the civil filing fee. As this action was never
properly commenced, within the meaning of Truitt, and as it is now
closed, it is not appropriate for the Court to consider any
substantive motion filed in this case. The plaintiff’s motion is
DENIED.

The Clerk shall send a Copy of this order to the United
States Court of Appeals for the Sixth Circuit.

IT IS SO ORDERED this C;zc? day of August, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

DISTRICT oURT WESTERN ISRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:04-CV-02578 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

Ricky Benson

SCCC

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201 Poplar
1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

